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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  QUINTIN-JOHN D'AGIRBAUD,     )       CIVIL NO. 18-00021 JMS-RLP
  III,                         )
                               )       ORDER DENYING PLAINTIFF’S MOTION
            Plaintiff,         )       FOR LEAVE TO FILE AN AMENDED
                               )       COMPLAINT
            vs.                )
                               )
  SARAH ALANZO, ET AL.,        )
                               )
            Defendants.        )
  ____________________________ )

                     ORDER DENYING PLAINTIFF’S MOTION
                  FOR LEAVE TO FILE AN AMENDED COMPLAINT

              Plaintiff, proceeding pro se, filed a Motion for Leave

  to File an Amended Complaint on June 28, 2018.         See ECF No. 29.

  Defendants Sarah Alanzo-Cabardo and Dovie Borges filed their

  Opposition on July 16, 2018.       ECF No. 31.    Plaintiff filed his

  Reply on July 23, 2018.      See ECF No. 32.     The Court found this

  matter suitable for disposition without a hearing pursuant to

  Rule 7.2(d) of the Local Rules of Practice for the United States

  District Court for the District of Hawaii.         ECF No. 30.    For the

  reasons set forth below, the Court DENIES Plaintiff leave to file

  an amended complaint.

                                  BACKGROUND

              Plaintiff filed his Prisoner Civil Rights Complaint on

  January 12, 2018, alleging that Defendants violated his

  constitutional rights when they allegedly failed to protect him

  from assault by other inmates, retaliated against him for filing

  grievances, illegally searched his locker, and denied him due
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  process.    Id.     Plaintiff asserted five claims:    Counts I and II,

  alleging the failure to protect him from assault under the Eighth

  Amendment; Counts III, V, and VI, alleging denial of due process

  under the Fourteenth Amendment; and Count IV, alleging an

  unreasonable search and seizure under the Fourth Amendment.            ECF

  No. 1.   Plaintiff named as Defendants Sarah Alanzo, Dovie Borges,

  Scott Harrington, Nolan Espinda, Shari Kimoto, Teresa Miike,

  Thomas Evans, and Sean Ornellas, all in their individual and

  official capacities.      Id.

               In its screening order, the Court allowed Plaintiff’s

  claims in Count I and II under the Eighth Amendment against

  Defendants Sarah Alanzo and Dovie Borges in their individual

  capacities to proceed, along with an unenumerated retaliation

  claim against Defendant Alanzo.       ECF No. 7.    The Court dismissed

  with prejudice all claims alleged against all Defendants in their

  official capacities and Plaintiff’s claims under the Fourth

  Amendment and Fourteenth Amendment in Count VI.         Id.   The Court

  dismissed Plaintiff’s remaining claims without prejudice and gave

  Plaintiff until March 28, 2018, to file an amended complaint or

  to inform the Court that he elects to proceed with his claims

  against Defendants Sarah Alanzo and Dovie Borges as limited in

  the order.    Id.     Plaintiff filed a statement on March 12, 2018,

  stating that he elects to stand on his claims against Defendants

  Sarah Alanzo and Dovie Borges as limited in the order.            ECF No.


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  9.    Plaintiff’s Complaint was served on Defendants Sarah Alanzo

  and Dovie Borges, who filed an answer on June 20, 2018.           ECF Nos.

  16, 17, 28.    The present Motion followed.

              Plaintiff seeks leave to file an amended complaint to

  name as additional defendants: David Kuehu, Faafeta Tuvale, Shari

  Kimoto, A. Monteilh, N. Cox, Thomas Evans, and E. Ornellas.            ECF

  No. 29-1.    Plaintiff asserts claims against all of these

  individuals in both their individual and official capacities.

  Id.    In his proposed amended complaint, Plaintiff restates his

  claims under Counts I and II.       See ECF No. 29-1 at 8-9.

              Regarding Count III, Plaintiff’s proposed amendments

  change the title of this Count to assert that it is a violation

  of his Eighth Amendment rights, instead of his Fourteenth

  Amendment rights as he asserted in his initial Complaint.           ECF

  No. 29-1 at 10.     Plaintiff restates the same facts that were

  included in his initial Complaint for Count III and alleges

  additional facts that Cox erroneously found Plaintiff guilty of a

  drug violation without any pictures or video of the search or the

  substance and did not allow Plaintiff to review any written

  reports, that Monteilh and Kuehu used Plaintiff to report drug

  activity knowing that Plaintiff was set up by other inmates or

  staff, that Plaintiff has not received any evidence proving that

  the substance was drugs or was even found in Plaintiff’s locker,

  that Kimoto lied on Plaintiff’s grievance stating that the


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  substance was tested, but did not produce lab reports, that

  Ornellas and Evans did not follow Department of Public Safety

  policy regarding the investigation.

               Regarding Count IV, Plaintiff’s proposed amendments

  change the title of this Count to assert that it is a violation

  of his Eighth Amendment rights, instead of his Fourth Amendment

  rights as he asserted in his initial Complaint.         ECF No. 29-1 at

  12.   In his original Complaint, Plaintiff asserted that this

  claim involved “Cell & Locker Searches”; in his proposed amended

  complaint, Plaintiff states that Count IV involves “staff set-up

  inmates.”     ECF No. 1 at 11; ECF No. 29-1 at 12.        Plaintiff

  restates the same facts that were included in his initial

  Complaint for Count IV and also alleges additional facts that

  Kuehu and Tuvate searched his locker without a video camera and

  did not have pictures of what was found, that Plaintiff believes

  that staff set him up in order to get information about drug use

  at the facility, that Ornellas and Evans did not follow policy,

  and that Kimoto did not properly investigate her staff and lied.

  Id. at 13.

                                  DISCUSSION

               As an initial matter, the Court rejects Defendants’

  argument that Plaintiff waived his ability to seek leave to amend

  because he previously elected to proceed on his claims against

  Defendants Sarah Alanzo and Dovie Borges as limited in the


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  Court’s prior screening order.       See ECF No. 31.    Nothing in the

  Court’s prior screening order stated that Plaintiff would be

  prohibited from seeking leave to amend if he chose to proceed

  with his claims against Defendants Sarah Alanzo and Dovie Borges

  at that time.    See ECF No. 7.     Although the Court set a deadline

  for Plaintiff to file an amended complaint addressing the

  deficiencies identified in the screening order, the Court did not

  state that Federal Rule of Civil Procedure 15, which allows for

  parties to seek leave of court to amend, does not apply to this

  action.    Id.   Accordingly, the Court addresses the merits of

  Plaintiff’s proposed amendments under the applicable standard of

  Rule 15.

              Federal Rule of Civil Procedure 15(a) provides that

  leave to amend a complaint should be freely given when justice so

  requires.    Fed. R. Civ. P. 15(a).      “[T]he rule favoring

  liberality in amendments to pleadings is particularly important

  for the pro se litigant.”      Lopez v. Smith, 203 F.3d 1122, 1131

  (9th Cir. 2000) (internal quotations omitted) (discussing pro se

  prisoner suits under 28 U.S.C. § 1915(e)(2)).         Courts must

  construe a pro se plaintiff’s complaint liberally.          See Bernhardt

  v. Los Angeles County, 339 F.3d 920, 925 (9th Cir. 2003); Jackson

  v. Carey, 353 F.3d 750, 757 (9th Cir. 2003).         Leave to amend

  should be granted unless there is evidence of bad faith, undue

  delay, prejudice to the opposing party, futility of amendment, or


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  repeated failures to cure deficiencies with previous amendments.

  Foman v. Davis, 371 U.S. 178 (1962); accord Sonoma Cty. Ass’n of

  Retired Emps. v. Sonoma Cty., 708 F.3d 1109, 1117 (9th Cir.

  2013).    As discussed below, the Court finds that Plaintiff should

  not be given leave to amend because the proposed amendments are

  futile.   An amendment is futile if “no set of facts can be proved

  under the amendment to the pleadings that would constitute a

  valid and sufficient claim or defense.”        Miller v. Rykoff-Sexton,

  Inc., 845 F.2d 209, 214 (9th Cir. 1988).

              a.   Plaintiff’s Proposed Claims Against Defendants in

  their Official Capacities are Futile.

              As noted above, Plaintiff’s proposed amendments include

  an assertion that all claims are brought against the named

  Defendants in their individual and official capacities.           See ECF

  No. 29-1.    As the Court explained in its prior screening order,

  “[t]he Eleventh Amendment bars suits for money damages in federal

  court against a state, its agencies, and state officials acting

  in their official capacities.”       Aholelei v. Dep’t of Pub. Safety,

  488 F.3d 1144, 1147 (9th Cir. 2007).        As with his initial

  Complaint, nothing in Plaintiff’s proposed amended complaint

  provides a basis for prospective injunctive relief.          See ECF No.

  29-1; ECF No. 7 at 9-10.      Accordingly, all of Plaintiff’s

  proposed amendments to add claims against the named Defendants in

  their official capacities are futile.


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               b.    Plaintiff’s Proposed Amended Count III and Count

  IV are Futile.

              As noted above, Plaintiff’s proposed amendments change

  the title of these claims to assert violations of his Eighth

  Amendment rights instead of his Fourth and Fourteenth Amendment

  rights, as he asserted in his initial Complaint.          See ECF No. 29-

  1 at 10, 12.      Plaintiff also asserts additional facts in support

  of these Counts.     Id. at 10-13.

              First, to the extent Plaintiff is attempting to assert

  violations of his Eighth Amendment rights, those claims are

  futile.   In order to assert a claim under the Eighth Amendment,

  Plaintiff must plausibly allege that a defendant demonstrated

  deliberate indifference to conditions posing a substantial risk

  of serious harm to Plaintiff.       Farmer v. Brennan, 511 U.S. 825,

  834, 841 (1994).     Deliberate indifference occurs when a defendant

  acts or fails to act despite his subjective knowledge of a

  substantial risk of serious harm.        Id.   The factual allegations

  in the proposed amended Count III and Count IV relate to the

  search of Plaintiff’s locker, the drug contraband that was

  allegedly found in Plaintiff’s locker, and the investigation

  conducted by Defendants.      See ECF No. 29-1 at 10-13.      The

  additional facts alleged by Plaintiff also relate to these acts.

  Id. at 11, 13.      Plaintiff’s proposed factual allegations do not

  plausibly allege that any defendant demonstrated deliberate


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  indifference to conditions posing a substantial risk of serious

  harm to Plaintiff.     Because Plaintiff’s proposed allegations in

  Count III and Count VI do not show that Plaintiff was subjected

  to cruel and unusual punishment, Plaintiff’s request for leave to

  amend these claims to assert a violation of his Eighth Amendment

  rights is DENIED.

              Second, setting aside Plaintiff’s proposed amended

  titles of these claims, to the extent Plaintiff is attempting to

  assert violations of his Fourth or Fourteenth Amendment rights in

  Count III and Count IV of his proposed amended complaint, those

  claims are also futile.

              For Count III, Plaintiff includes in his proposed

  amended complaint additional allegations related to the

  investigation conducted by Defendants following the search of his

  locker and his transfer.      See ECF No. 29-1 at 10-11.      In the

  screening order, the Court found that Plaintiff did not state a

  Fourteenth Amendment due process claim because Plaintiff did not

  establish that he had a liberty interest at stake.          See ECF No. 7

  at 13-14.    The additional facts alleged by Plaintiff in his

  proposed amended complaint do not change this conclusion.

  Accordingly, Plaintiff’s request for leave to amend to assert a

  violation of his Fourteenth Amendment due process rights is

  DENIED.

              For Count IV, Plaintiff includes in his proposed


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  amended complaint additional allegations related to the search of

  his locker and the contraband that was allegedly found in

  Plaintiff’s locker.     See ECF No. 29-1 at 10-13.      In the screening

  order, the Court found that Plaintiff did not, and could not,

  state a Fourth Amendment claim based on the search of his locker

  because Plaintiff did not have a reasonable expectation of

  privacy.    See ECF No. 7 at 11-12.      The additional facts alleged

  by Plaintiff in his proposed amended complaint do not change this

  conclusion.    Accordingly, Plaintiff’s request for leave to amend

  to assert a violation of his Fourth Amendment rights based on the

  search of his locker and the contraband that was allegedly found

  in Plaintiff’s locker is DENIED.

                                   CONCLUSION

               Because Plaintiff’s proposed amendments are futile, the

  Court DENIES Plaintiff’s Motion for Leave to File an Amended

  Complaint.

               IT IS SO ORDERED.

               DATED AT HONOLULU, HAWAII, JULY 30, 2018.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge


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  DENYING PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT


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